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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )
                                           )
                     Plaintiff,            )
                                           )                 4:04CR3008-1
             V.                            )
                                           )
CHRISTIAN P. FIROZ,                        )
                                           )                     ORDER
                     Defendant.            )

      After hearing the oral arguments of the parties,

       IT IS ORDERED that the defendant’s motion to dismiss allegations 4, 5, and 6 (filing
109) of the amended petition (filing 106) is granted. The motion to dismiss regarding
allegation 3 (filing 109) of the amended petition (filing 106) is denied.

      May 4, 2007.                        BY THE COURT:

                                          S/ Richard G. Kopf
                                          United States District Judge
